         Case 2:10-bk-50991            Doc 54 Filed 04/27/11 Entered 04/27/11 12:56:35                        Desc Main
                                        UNITED STATES BANKRUPTCY COURT
                                              Document     Page 1 of 4
                                              Southern District of Ohio (Columbus)

In re:                                                                                 Case No:    10-50991
Elizabeth Annette Cameron                                                              Chapter:    13
                                                                                       Judge:      John E. Hoffman Jr.
                                         Debtor(s)
                                                                                       Loan # Last 4: 1640

                                             NOTICE OF PAYMENT CHANGE
                                          AS TO MORTGAGE PROOF OF CLAIM


Name of Creditor:    American Home Mortgage Servicing, Inc.
Address of Creditor: 1525 S. Beltline Road
                     Coppell, TX 75019

Court Claim Number:                      11

Address of Property: 5005 MAJESTIC DR COLUMBUS, OH 43232


In accordance with the terms of the Adjustable Rate Mortgage, this is notification that the Interest Rate Payment Amount is
adjusting as follows:

Payment Adjustment Date:                                                       May 01, 2011
Current Monthly Payment Amount:
Old Interest Rate:
New Interest Rate:
New Principal and Interest Payment:

If there is a change in the escrow amount (taxes or insurance), the change is for the following reasons:
Old Escrow Amount:                                                               $180.50
New Escrow Amount:                                                               $306.30
New Monthly Payment Including Escrow:                                            $1,095.13

Attached is a copy of the annual escrow account statement outlining the basis for the change.



Any questions should be directed to:
                                                                  American Home Mortgage Servicing, Inc.
                                                                  1525 S. Beltline Road
                                                                  Coppell, TX 75019
                                                                  877-304-3100

                                                                  Date:   April 27, 2011
                                                                  By:     /s/ Bill Taylor
                                                                          Authorized Filing Agent for Filer




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Case 2:10-bk-50991   Doc 54   Filed 04/27/11 Entered 04/27/11 12:56:35   Desc Main
                              Document     Page 2 of 4
Case 2:10-bk-50991   Doc 54   Filed 04/27/11 Entered 04/27/11 12:56:35   Desc Main
                              Document     Page 3 of 4
      Case 2:10-bk-50991             Doc 54 Filed 04/27/11 Entered 04/27/11 12:56:35                            Desc Main
                                       CERTIFICATE OFPage
                                           Document          4 of 4
                                                          SERVICE

 I hereby certify that on April 27, 2011, I have served a copy of this Notice and all attachments to the following by U.S. Mail,
 postage pre paid and via filing with the US Bankruptcy Court's CM ECF system.



 Debtor:

 Elizabeth Annette Cameron
 5005 Majestic Dr E
 Columbus, OH 43232




 Debtor's Attorney:

 Karen E Hamilton
 31 East Whittier Street
 Columbus, OH 43206




 Trustee:

 Frank M Pees
 130 East Wilson Bridge Road
 Suite 200
 Worthington, OH 43085



                                                            /s/ Bill Taylor
                                                            As Authorized Agent for Filer


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